Case 4:18 G1 208 LB ROL Pagument ABA Entered on LSB Docket Oberon Faget oft

POSITION OF PARTIES WITH
RESPECT TO SENTENCING FACTORS

RE: Blemur, Anis
SD/FL PACTS NUMBER: 5668863
DOCKET NO: 113C 1:18CR208 18-001
OBJECTIONS DUE BY: June 7, 2019

DATE AVAILABLE FOR DISCLOSURE: May 24, 2019

 

I have read the presentence investigation completed by the United States Probation Office.

There are no disputed facts.

aa There are unresolved factual disputed which are attached.

Any objections counsel may have must be submitted to the U. S. Probation Office within fourteen (14) days of the
receipt of the presentence report, at which time the U.S. Probation Office will prepare for the Court an addendum

indicating any unresolved factual disputes or objections by counsel. Unless otherwise ordered by the Court, objections

will be filed in CM/ECF or provided directly to Chambers by the probation office under confidentiality
protections.

  

Riverview, Florida

 

Miami

 

Miami

 

Jessica Obenauf (Date)

Return To: Vanessa Pulido
U.S. Probation Officer
Wilkie D. Ferguson, Jr. United States Courthouse
400 North Miami Avenue, 9th Floor South
Miami, FL 33128
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THE HANDFIELD FIRM

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June 3, 2019

Vanessa Pulido
U.S. Probation Officer

RE: Presentence Investigative Report Correction

COMES NOW the Defendant, ANIS BLEMUR, by and through his undersigned counsel, find no
legal objections to the Presentence Investigative Report. However, would like to make the following
factual corrections.

1. On page 8 paragraph 8 there were no contracts executed signed by the victims.
However, there were offers submitted by the defendant to the victims. J.A. ,signed only
by J.A., not by sellers.

2. As it relates to page 18 paragraph 51 please note, there were 14 credit cards belonging
to the 2 victims, D.A. and M.M. Also, the amount of the investment was $35,000 in total
and not $79,000

3. On page 19 paragraph 55 there were only 2 victims (not nine) identified in the identity
theft with a total loss of $160, 528. 77

4. As it relates to page 21 paragraph 67, the defendant, Anis Blemur, would object 2 points
enhancement because he does not fall within the specified category.

5. On page 28 paragraph 109 please note, the listed president is Jean L. Michel, who is the
brother of victims M.M. and D.A. and the secretary is Marie Claude-Michel, Jean L.
Michel’s wife.
